Case: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 1 of 14 PageID #:24




                EXHIBIT 4
Case: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 2 of 14 PageID #:25
Case: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 3 of 14 PageID #:26
e: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 4 of 14 PageID
Case: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 5 of 14 PageID #:28
Case: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 6 of 14 PageID #:29
Case: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 7 of 14 PageID #:30
-04813 Document #: 1-3 Filed: 08/17/20 Page 8 of 14
Case: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 9 of 14 PageID #:32
ument #: 1-3 Filed: 08/17/20 P
ument #: 1-3 Filed: 08/17/20 P
: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 12 of 14 PageID
Case: 1:20-cv-04813 Document #: 1-3 Filed: 08/17/20 Page 13 of 14 PageID #:36
ument #: 1-3 Filed: 08/17/20 P
